                                                                               (1 of 61)
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                                   FOR PUBLICATION

                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT


                  ABS ENTERTAINMENT, INC., an               No. 16-55917
                  Arkansas corporation; BARNABY
                  RECORDS, INC., a New York                    D.C. No.
                  corporation; BRUNSWICK RECORD             2:15-cv-06257-
                  CORPORATION, a New York                      PA-AGR
                  corporation; MALACO INC., a
                  Mississippi corporation, each
                  individually and on behalf of all         ORDER AND
                  others similarly situated.,                AMENDED
                                   Plaintiffs-Appellants,     OPINION

                                    v.

                  CBS CORPORATION, a Delaware
                  corporation; CBS RADIO, INC., a
                  Delaware corporation; DOES, 1
                  through 10,
                                Defendants-Appellees.



                        Appeal from the United States District Court
                           for the Central District of California
                         Percy Anderson, District Judge, Presiding

                          Argued and Submitted November 9, 2017
                                   Pasadena, California

                                  Filed August 20, 2018
                                 Amended October 31, 2018
                                                                               (2 of 61)
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                 2        ABS ENTERTAINMENT V. CBS CORPORATION

                           Before: Richard Linn, * Marsha S. Berzon,
                              and Paul J. Watford, Circuit Judges.

                                             Order;
                                      Opinion by Judge Linn


                                           SUMMARY **


                                             Copyright

                     The panel reversed the district court’s grant of summary
                 judgment in favor of the defendants on claims of violation of
                 state law copyrights possessed by the plaintiffs in sound
                 recordings originally fixed before 1972.

                     Under the Sound Recording Act, sound recordings fixed
                 after February 15, 1972, are subject to a compulsory license
                 regime for performance via digital transmission and are
                 excused from infringement for performance via terrestrial
                 radio. Congress reserved governance of sound recordings
                 fixed before 1972 to state statutory and common law and
                 excluded such sound recordings from federal copyright
                 protection until 2067.

                    The plaintiffs owned sound recordings embodying
                 musical performances initially fixed in analog format prior


                     *
                       The Honorable Richard Linn, United States Circuit Judge for the
                 U.S. Court of Appeals for the Federal Circuit, sitting by designation.
                     **
                        This summary constitutes no part of the opinion of the court. It
                 has been prepared by court staff for the convenience of the reader.
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                 to February 15, 1972. They remastered these pre-1972
                 sound recordings onto digital formats.

                     The panel held that the district court erred in finding a
                 lack of a genuine issue of material fact about the copyright
                 eligibility of remastered sound recordings distributed by the
                 defendants. The panel concluded that a derivative sound
                 recording distinctly identifiable solely by the changes in
                 medium generally does not exhibit the minimum level of
                 originality to be copyrightable.

                     The panel held that the district court erred in concluding
                 that plaintiffs’ state copyright interest in the pre-1972 sound
                 recordings embodied in the remastered sound recordings
                 was preempted by federal copyright law. The panel held that
                 the creation of an authorized digital remastering of pre-1972
                 analog sound recordings that qualify as copyrightable
                 derivative works does not bring the remastered sound
                 recordings exclusively under the ambit of federal law.

                     The panel held that the district court abused its discretion
                 by excluding the testimony of plaintiffs’ expert, excluding
                 certain reports as evidence of defendants’ performance of
                 plaintiffs’ sound recordings in California, and granting
                 partial summary judgment of no infringement with respect
                 to the samples contained in those reports.

                     The panel concluded that the district court’s strict
                 application of its local rules with respect to the timeliness of
                 plaintiffs’ motion for class action certification was
                 inconsistent with the Federal Rules of Civil Procedure and
                 was thus an abuse of discretion.
                                                                               (4 of 61)
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                     The panel reversed the grant of summary judgment and
                 the striking of class certification and remanded for further
                 proceedings.


                                        COUNSEL

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                 Watkins LLP, San Francisco, California; Roman Martinez,
                                                                               (5 of 61)
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                 Latham & Watkins, Washington, D.C.; Sarang v. Damle,
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                 Broadcasters.

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                 Emmy Parsons, Garrett Levin, and Rick Kaplan, National
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                 Curiae National Association of Broadcasters.


                                          ORDER

                     The Opinion filed August 20, 2018, and reported at
                 900 F. 3d 1113, is hereby amended. The amended opinion
                 will be filed concurrently with this order.

                     The panel has unanimously voted to deny Appellees’
                 petition for panel rehearing. Judge Berzon and Judge
                 Watford have voted to deny the petition for rehearing en
                 banc. Judge Linn recommends denial of the petition for
                 rehearing en banc. The full court has been advised of the
                 petition for rehearing en banc, and no judge has requested a
                 vote on whether to rehear the matter en banc. Fed. R. App.
                 P. 35. The petition for panel rehearing and the petition for
                 rehearing en banc are DENIED.

                     Future petitions for rehearing or rehearing en banc will
                 not be entertained in this case.
                                                                               (6 of 61)
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                 6      ABS ENTERTAINMENT V. CBS CORPORATION

                                          OPINION

                 LINN, Circuit Judge:

                     Appellants ABS Entertainment, Inc., Barnaby Records,
                 Inc., Brunswick Record Corp. and Malaco, Inc.
                 (collectively, “ABS”) appeal from the grant of summary
                 judgment by the Central District of California in favor of
                 CBS Corporation and CBS Radio, Inc. (collectively,
                 “CBS”), holding that CBS did not violate any state law
                 copyrights possessed by ABS in sound recordings originally
                 fixed before 1972. ABS also appeals from the district
                 court’s striking of its class action certification, and certain
                 evidentiary rulings.

                     We conclude that the district court erred in finding a lack
                 of a genuine issue of material fact about the copyright
                 eligibility of remastered sound recordings distributed by
                 CBS. We also conclude that the district court abused its
                 discretion by excluding the testimony of ABS’s expert Paul
                 Geluso, excluding the Triton Reports as evidence of CBS’s
                 performance of ABS’s sound recordings in California, and
                 granting partial summary judgment of no infringement with
                 respect to the samples contained in those reports. Finally,
                 we conclude that the district court’s strict application of its
                 local rules with respect to the timeliness of ABS’s motion
                 for class action certification was inconsistent with the
                 Federal Rules of Civil Procedure and was thus an abuse of
                 discretion.

                    For the reasons set forth below, we reverse the grant of
                 summary judgment and the striking of class certification,
                 and remand for further proceedings consistent with this
                 opinion.
                                                                               (7 of 61)
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                         ABS ENTERTAINMENT V. CBS CORPORATION                          7

                                                    I

                     In 1971, Congress passed the Sound Recording Act.
                 This Act for the first time created federal copyright
                 protection for certain sound recordings. Under that law,
                 sound recordings fixed after February 15, 1972 were made
                 subject to a compulsory license regime for performance via
                 digital transmission and were excused from infringement for
                 performance via terrestrial radio. 17 U.S.C. §§ 114, 301(c).

                     ABS owns sound recordings embodying musical
                 performances initially fixed in analog format prior to
                 February 15, 1972 (“pre-1972 sound recordings”). 1 As
                 digital formats replaced analog ones, ABS hired remastering
                 engineers to remaster the pre-1972 sound recordings onto
                 digital formats (“remastered sound recordings”). In doing
                 so, ABS determined to optimize the recordings for the new
                 digital format using standard, technical processes to create
                 accurate reproductions of its original pre-1972 analog
                 recordings and did not set out to create any new and different
                 sound recordings. ABS contends that this resulted in a
                 change in quality but not a substantial difference in the
                 identity or essential character of the sound recordings
                 themselves. ABS argues that injecting a substantial
                 difference in the digital remasters from their analog originals
                 would have diminished the value of the remastered sound
                 recordings, contrary to ABS’s objective in seeking to fully
                 exploit its intellectual property in those sound recordings.


                     1
                         For purposes of this appeal, the sound recordings at issue are
                 defined by a series of 174 “representative samples” by artists including
                 Al Green, the Everly Brothers, Jackie Wilson, King Floyd, and other
                 artists.
                                                                               (8 of 61)
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                     ABS did not enter copies of the contracts between ABS
                 and the remastering engineers into the record, but both
                 parties agree that ABS authorized the creation of the
                 remastered sound recordings at issue here. 2 There is no
                 dispute that the remastered sound recordings contain only
                 the sounds (i.e. the vocals and instruments) originally
                 performed and fixed in the studio before 1972 and contained
                 in the pre-1972 sound recordings, and that no sounds were
                 removed or rearranged from the original fixed version. ABS
                 agrees that the remastered sound recordings are not identical
                 to the pre-1972 sound recordings, but contends that any
                 differences were trivial and of no copyrightable
                 consequence.

                     CBS delivers music content through terrestrial radio and
                 digital streaming, including 18 music stations in California
                 that are themselves streamed over the internet in
                 “simulcast.” CBS’s Radio 2.0 system logs “all sound
                 recordings it digitally transmits over the Internet,” and a
                 third party, Triton, tracks CBS’s simulcasts. CBS does not
                 use any analog sound recordings; it exclusively relies on
                 digitally mastered or remastered sound recordings for the
                 content it delivers to its customers. For all the broadcast
                 content, CBS paid a royalty to the owner of the underlying
                 musical composition. For the digitally streamed content,
                 CBS paid the compulsory license fee under the Sound
                 Recording Act to Sound Exchange. For content delivered by
                 terrestrial radio, CBS does not pay a license fee pursuant, as



                     2
                       The parties vigorously dispute whether the authorization to create
                 the remastered sound recordings also authorizes the creation of
                 derivative works, and which party bears the burden of proving such
                 authorization (or lack thereof).
                                                                               (9 of 61)
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                        ABS ENTERTAINMENT V. CBS CORPORATION                   9

                 permitted, to the Sound Recording Act’s safe haven for
                 terrestrial radio performance. See 17 U.S.C. § 114(d).

                                                II

                     On August 17, 2015, ABS filed a putative class action
                 against CBS in the Central District of California, alleging
                 that CBS’s transmission and distribution of the remastered
                 sound recordings violated California state law—specifically,
                 California Civil Code § 980(a)(2) (protecting the property
                 rights of an author of a sound recording fixed prior to
                 February 15, 1972); misappropriation and conversion; and
                 unfair competition, under California Business and
                 Professions Code § 17200.

                     On November 17, 2015, the district court denied a joint
                 stipulation to extend the 90-day deadline for filing a motion
                 for class action certification to allow for class certification
                 discovery, explaining that there was “no show of cause, let
                 alone good cause.” On November 19, 2015, the expiration
                 date of the local rule’s 90-day deadline for filing of class
                 certification, the court denied without explanation another
                 joint stipulation to extend the filing date. That same day,
                 ABS timely filed a motion for class certification. On
                 November 25, 2015, the district court struck the motion for
                 class certification because it set a hearing date for the motion
                 beyond the 35-day period after service of process as required
                 by the court’s standing orders and it did not include a
                 statement pursuant to Local Rule 7-3 that a “conference of
                 counsel” took place prior to the filing of the motion. The
                 court then struck ABS’s class allegations as untimely filed
                 under Local Rule 23-3.

                     CBS thereafter filed a motion for summary judgment,
                 arguing that there was no genuine issue of material fact that
                 the remastered sound recordings were authorized original
                                                                               (10 of 61)
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                  derivative works, subject only to federal copyright law. In
                  support of its motion, CBS submitted declarations from
                  music engineers, including from Durand R. Begault,
                  attesting that the remastering process involved originality
                  and aesthetic judgment. In response, ABS submitted expert
                  declarations of its own, including from Paul Geluso, who
                  testified that the pre-1972 and remastered recordings
                  “embodied” the same performance based on waveform,
                  spectral, and critical listening analysis.

                       The district court decided two important evidentiary
                  issues and granted summary judgment to CBS. The district
                  court excluded Geluso’s testimony under Federal Rule of
                  Evidence 702 and Daubert v. Merrell Dow Pharms., Inc.,
                  509 U.S. 579, 589–90 (1993) as “unscientific” and
                  “unnecessary to aid a fact finder capable of listening to the
                  sound recordings on his or her own,” and, “[a]lternatively”
                  because Geluso’s testimony was “irrelevant.” The court
                  reasoned that Geluso limited his forensic analysis to only the
                  first five seconds of each sound recording, which was
                  “clearly inadequate to rule out the possibility that non-trivial
                  differences exist between the [pre-1972 and remastered
                  sound recordings].” The court also rejected Geluso’s
                  reliance on “critical listening” as undefined and unscientific,
                  and objected to Geluso’s failure to include in his report the
                  results of his phase inversion testing, which the court
                  categorized as “adverse to Plaintiffs’ position.”

                      Considering only Begault’s expert testimony, the district
                  court then held that there was no genuine issue of material
                  fact that the remastering created original derivative works
                  protected by federal copyright law. The district court
                  explained that “during the remastering process, at least some
                  perceptible changes were made to Plaintiff’s Pre-1972
                  Sound Recordings,” and that these changes were not merely
                                                                               (11 of 61)
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                  “mechanical” or “trivial” changes, but rather “reflect
                  multiple kinds of creative authorship, such as adjustments of
                  equalization, sound editing, and channel assignment.” The
                  court thus concluded that as to the 57 works reviewed by
                  both parties’ experts, the remastered sound recordings were
                  entitled to federal copyright protection as original derivative
                  works.

                      Next, the district court concluded that ABS authorized
                  the creation of the remastered sound recordings, because
                  ABS had failed to meet its burden to show that its
                  authorization to create the remastered sound recordings did
                  not extend to the creation of a derivative work, and because,
                  in any event, “the right to claim copyright in a non-infringing
                  derivative work arises by operation of law, not through
                  authority from the copyright owner of the underlying work.”

                      The district court also concluded that, because the
                  remastered sound recordings, created after 1972, were
                  original and authorized, the remastered sound recordings
                  were exclusively governed by federal copyright law.
                  Therefore, the district court held, CBS had the right to
                  perform the remastered sound recordings by complying with
                  the statutory compulsory license obligations and taking
                  advantage of the terrestrial radio performance safe harbor
                  under 17 U.S.C. § 114. The district court assumed that
                  because the right to perform the remastered sound recordings
                  had been secured, CBS’s performance of the remastered
                  sound recordings could not infringe the pre-1972 sound
                  recordings.

                      The district court also held, in the alternative, that CBS
                  was entitled to partial summary judgment of non-
                  infringement with respect to 126 of the 174 representative
                  remastered sound recordings because ABS failed to provide
                  evidence of CBS’s performance of those sound recordings.
                                                                               (12 of 61)
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                  The evidence presented with respect to the 174 samples
                  breaks down as follows. Sixty samples were contained in
                  CBS’s internal digital audio library, Radio 2.0, which tracks
                  broadcast or transmission via CBS’s internet-only radio
                  stations. The parties agree that for 48 of these, ABS
                  presented evidence of CBS’s broadcast or transmission of
                  sound recordings embodying the same performances as
                  ABS’s pre-1972 sound recordings. The parties also agree
                  that nine sound recordings were not infringing because
                  CBS’s records show that it broadcast versions based on
                  different performances than the pre-1972 sound recordings.
                  Three of these sound recordings were not reviewed by the
                  parties’ experts. An additional 40 samples were contained
                  exclusively in the Triton Reports, which are created by a
                  third-party company to track “simulcasts”—live internet
                  streams—of CBS’s radio broadcasts across the United
                  States. The parties do not discuss on appeal the evidence
                  available with respect to the remaining 74 sound recordings.

                      The district court concluded that the Triton Reports were
                  hearsay and did not fall within the business records
                  exception because “Plaintiffs have failed to establish any one
                  of the requirements necessary for them to be admitted under
                  the business records exceptions.” The district court thus
                  concluded that ABS had failed to raise a genuine issue of
                  material fact as to CBS’s transmission or broadcast in
                  California of all but the 48 samples both parties agree CBS
                  transmitted.

                       ABS appealed each of the adverse rulings.

                                               III

                       We review the district court’s grant of summary
                  judgment de novo, asking whether the moving party has met
                  its burden to prove the absence of genuine issues of material
                                                                               (13 of 61)
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                  fact. U.S. Auto Parts Net., Inc. v. Parts Geek, LLC, 692 F.3d
                  1009, 1014 (9th Cir. 2012). A genuine issue of material fact
                  exists if, drawing all inferences in favor of the non-moving
                  party, a reasonable jury could find in favor of the non-
                  moving party. Id. Whether a work is protected by copyright
                  law is a mixed question of law and fact, which we review de
                  novo. Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d 1068, 1073
                  (9th Cir. 2000). We review the district court’s evidentiary
                  rulings for an abuse of discretion. Fonseca v. Sysco Food
                  Servs. Of Ariz., Inc., 374 F.3d 840, 845 (9th Cir. 2004).

                                                IV

                      We begin with the district court’s determination that
                  “there is no genuine dispute of material fact that CBS
                  performed a post-1972 version of Plaintiffs’ pre-1972 Sound
                  Recordings which contained federally-copyrightable
                  original expression added during the remastering process.”

                                                 A

                      The constitutional purpose of copyright law is “to
                  promote the Progress of Science and the useful Arts” by
                  securing to “authors the right to their original expression, but
                  encourage[ing] others to build freely upon the ideas and
                  information conveyed by a work.” Feist Pubs., Inc. v. Rural
                  Tel. Serv. Co., 499 U.S. 340, 349–50 (1991). “The sine qua
                  non of copyright is originality.” Id. at 345. “Original, as the
                  term is used in copyright, means only that the work was
                  independently created by the author (as opposed to copied
                  from other works), and that it possesses at least some
                  minimal degree of creativity.” Id. A product of independent
                  creation is distinguished from a copy in that it contains
                  something which “owes its origin” to the independent
                  creator. Burrow-Giles Lithographic Co. v. Sarony, 111 U.S.
                  53, 58 (1884). A copy, on the other hand, is not a separate
                                                                               (14 of 61)
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                  work, but a mere representation or duplication of a prior
                  creative expression. 3

                      A “derivative work” is defined in the Copyright Act as a
                  work “based upon one or more preexisting works” that
                  “recast[s], transform[s], or adapt[s]” a preexisting work and
                  “consist[s] of editorial revisions, annotations, elaborations,
                  or other modifications which, as a whole, represent an
                  original work of authorship.” 17 U.S.C. § 101. A derivative
                  work is copyrightable when it meets two criteria: (1) “the
                  original aspects of a derivative work must be more than
                  trivial,” and (2) “the original aspects of a derivative work
                  must reflect the degree to which it relies on preexisting
                  material and must not in any way affect the scope of any
                  copyright protection in that preexisting material.” U.S. Auto
                  Parts, 692 F.3d at 1016 (citing Durham Indus. v. Tomy
                  Corp., 630 F.2d 905, 909 (2d Cir. 1980)). This is known as
                  the Durham test. Both prongs arise out of Copyright’s basic
                  focus on originality. The first prong asks “whether the
                  derivative work is original to the author and non-trivial” and
                  the second prong ensures that the derivative work author
                  does not hinder the original copyright owner’s ability to
                  exercise all of its rights. Id. at 1017.


                       3
                         The Copyright Act defines “Copies” as “material objects, other
                  than phonorecords, in which a work is fixed by any method now known
                  or later developed, and from which the work can be perceived,
                  reproduced, or otherwise communicated, either directly or with the aid
                  of a machine or device. The term ‘copies’ includes the material object,
                  other than a phonorecord, in which the work is first fixed.” 17 U.S.C.
                  § 101. “Phonorecords” are “material objects in which sounds, other than
                  those accompanying a motion picture or other audiovisual work, are
                  fixed by any method now known or later developed, and from which the
                  sounds can be perceived, reproduced, or otherwise communicated, either
                  directly or with the aid of a machine or device.” Id.
                                                                               (15 of 61)
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                      Because derivative works do not start from scratch,
                  courts have endeavored to determine the kinds of
                  contributions in the derivative work that qualify as original.
                  In most circumstances, derivative works contain obvious
                  creative contributions and so are easily recognizable as
                  distinct from the underlying work. The casting, lighting,
                  cinematography, props, editing, acting, and directing
                  required to craft a movie from a screenplay, for example,
                  easily render the movie distinct from the screenplay.
                  Likewise, the authors of most sound recordings that use a
                  sample of another sound recording to create distinct
                  derivative works do so by adding new vocals, instruments,
                  and edits to the underlying sample. Where the alleged
                  derivative work, however, is intended as, and is in fact, a
                  direct representation of the original work, the contributions
                  of the derivative work author are harder to identify.

                      This court applied the two-part Durham test in
                  Entertainment Research Group, Inc. v. Genesis Creative
                  Group, Inc., 122 F.3d 1211 (9th Cir. 1997). In that case,
                  Entertainment Research Group (“ERG”) made three-
                  dimensional inflatable costumes based on copyrighted
                  characters like “Toucan Sam” and “Cap’n Crunch.” Id. at
                  1217–18. In relevant part, the court, in applying the
                  originality prong, concluded that the costume-maker’s
                  contributions—including the change in format from 2D to
                  3D; changes in the proportion of textures, facial features and
                  facial expressions; and the changes attendant to the
                  functional addition of movement—were insufficient to
                  render the costumes copyright eligible as derivative works.
                  Id. at 1223.

                      The court first discounted the changes occasioned by
                  technical, functional, and utilitarian concerns, such as the
                  differences in proportion (necessitated by the requirement
                                                                               (16 of 61)
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                  that a human body must fit within the costume) and texture
                  (necessitated by the material choice), because copyright in a
                  sculptural work is limited to its form and cannot extend to its
                  mechanical or utilitarian aspects under 17 U.S.C. § 101. Id.
                  at 1221. The remaining changes in the facial expressions
                  were also deemed insufficient to support a derivative work
                  copyright, because “no reasonable trier of fact would see
                  anything but a direct replica of the underlying characters.”
                  Id. at 1224. “Viewing the three-dimensional costumes and
                  the two-dimensional drawings upon which they are based, it
                  is immediately apparent that the costumes are not exact
                  replicas of the two-dimensional drawings.” Id. at 1223.
                  These identifiable changes “themselves reflect[] no
                  independent creation, no distinguishable variation from
                  preexisting works, nothing recognizably the author’s own
                  contribution that sets [ERG’s costumes] apart from the
                  prototypical [characters]” the costumes represented. Id. at
                  1223 (quoting Durham, 630 F.2d at 910). In other words,
                  the costumes did not constitute new works, despite the
                  independent decision-making involved in their creation. Id.
                  at 1224 (holding that the different facial expressions,
                  proportions, and functional capabilities were “clearly not the
                  defining aspect[s] of the costumes” when viewed “in the
                  context of the overall costume” and, thus, were not
                  considered distinguishable variations capable of supporting
                  independent copyright protection). The court then went on
                  to apply the second prong of Durham, noting that because of
                  the similarity between ERG’s costumes and the underlying
                  characters, granting a derivative work copyright in the
                  costumes would improperly give ERG “a de facto monopoly
                  on all inflatable costumes depicting the copyrighted
                  characters also in ERG’s costumes.” Id.

                     The Tenth Circuit similarly held that a digital work must
                  be more than a copy of an underlying analog work to support
                                                                               (17 of 61)
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                  copyright as a derivative work. In Meshwerks, Inc. v. Toyota
                  Motor Sales U.S.A., 528 F.3d 1258 (10th Cir. 2008), the
                  Tenth Circuit considered the copyright eligibility of
                  Meshwerks’ digital wire frame models used as skeletons for
                  the interactive display of Toyota’s vehicle designs online
                  and in advertising. Id. at 1260. Meshwerks measured
                  Toyota’s vehicles with an articulated arm tethered to a
                  computer and mapped the results onto a computerized grid
                  using modeling software; connected the measured points to
                  create a wire frame; and manually adjusted about ninety-
                  percent of the data points to make the models more closely
                  resemble the vehicles. Id. at 1260–61. The Tenth Circuit
                  drew a sharp distinction between copies and original works,
                  explaining that copies cannot qualify for copyright
                  protection “since obviously a copier is not a creator, much
                  less an ‘independent’ creator.” Id. at 1267 (citing Patry on
                  Copyright § 3:28). The wire frames were copies, according
                  to the court, because they “depict nothing more than
                  unadorned Toyota vehicles—the car as car,” the visual
                  designs of “which do not owe their origins to Meshwerks.”
                  Id. at 1265, 1268.

                      Meshwerks relied on three important doctrines in coming
                  to that conclusion. First, as in Entertainment Research
                  Group, the mere act of translating the derivative work into a
                  different medium did not confer a distinct identity on the
                  derivative work. Id. at 1267 (“[T]he fact that a work in one
                  medium has been copied from a work in another medium
                  does not render it any the less a ‘copy.’” (citing 2 Nimmer
                  on Copyright § 8.01[B])); id. (noting that although the wire
                  models did not “recreate Toyota vehicles outright—steel,
                  rubber, and all,” “what Meshwerks accomplished was a
                  peculiar kind of copying”). Second, the court analyzed
                  originality by comparing the start and end products—the
                  underlying vehicle designs and the wire models—not the
                                                                               (18 of 61)
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                  process used to get from one to the other. Id. at 1268 (“[I]n
                  assessing the originality of a work for which copyright
                  protection is sought, we look only at the final product, not
                  the process, and the fact that intensive, skillful, and even
                  creative labor is invested in the process of creating a product
                  does not guarantee its copyrightability.”). Finally, the court
                  considered Toyota’s intent in authorizing Meshwerks to
                  create an accurate representation of Toyota’s vehicles, not
                  something new and different: “If an artist affirmatively sets
                  out to be unoriginal—to make a copy of someone else’s
                  creation, rather than to create an original work—it is far
                  more likely that the resultant product will, in fact, be
                  unoriginal.” Id.

                       The Second Circuit considered the originality needed to
                  justify copyright protection for a derivative work in L. Batlin
                  & Son, Inc. v. Snyder. 536 F.2d 486 (2d Cir. 1976). In that
                  case, appellant Snyder obtained a copyright registration for
                  a plastic version of a cast metal Uncle Sam bank that had
                  previously entered the public domain. 4 Snyder made several
                  changes in the plastic version: he made it shorter “in order to
                  fit into the required price range and quality and quantity of
                  material to be used;” changed the proportions of Uncle
                  Sam’s face, bag, hat, and eagle; changed the textures of
                  several components; created a single-piece mold
                  incorporating the umbrella instead of the two-piece mold of

                       4
                        The public domain metal bank comprised: “Uncle Sam, dressed in
                  his usual stove pipe hat, blue full dress coat, starred vest and red and
                  white striped trousers, and leaning on his umbrella, stands on a four- or
                  five-inch wide base, on which sits his carpetbag. A coin may be placed
                  in Uncle Sam's extended hand. When a lever is pressed, the arm lowers,
                  and the coin falls into the bag, while Uncle Sam's whiskers move up and
                  down. The base has an embossed American eagle on it with the words
                  ‘Uncle Sam’ on streamers above it, as well as the word ‘Bank’ on each
                  side.” 536 F.2d at 488.
                                                                               (19 of 61)
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                  the metal bank; and replaced the arrows in the eagle’s talons
                  with leaves, because “the arrows did not reproduce well in
                  plastic on a smaller size.” Id. at 488–89.

                      Even though the plastic bank was not identical to the
                  metal original, the Second Circuit held that the changes did
                  not amount to a distinguishable variation in the identity or
                  essential character of the original work. Id. at 491. The
                  transfer of the expression from the underlying cast iron
                  Uncle Sam to a plastic version, despite overcoming technical
                  challenges and, arguably, improving the original in terms of
                  lowering the price, did not result in a copyrightable
                  derivative work, because the changes did not constitute the
                  “substantial variation” necessary to support copyright.
                  Instead, they were merely the “trivial” results of the
                  “translation to a different medium.” Id. The plastic bank
                  was not a new work—it did not embody “the author’s
                  tangible expression of his ideas,” id. at 492 (quoting Mazer
                  v. Stein, 347 U.S. 201, 214 (1954)), and was thus a mere
                  copy of the underlying work.

                      The Copyright Office guidance provided in Circular 56
                  reflects that a similar analysis applies specifically to
                  derivative sound recordings. 5 In relevant part, Circular 56
                  explains the following about derivative sound recordings:

                          A derivative sound recording is an audio
                          recording that incorporates preexisting
                          sounds, such as sounds that were previously
                          registered or published or sounds that were
                       5
                         Circulars provide Copyright Office guidance on various issues.
                  We may rely on them as persuasive but not binding authority. See
                  Kitchens of Sara Lee, Inc. v. Nifty Foods Corp., 266 F.2d 541, 544 (2d
                  Cir. 1959) (citing Copyright Office publication); In re World Aux. Power
                  Co., 303 F.3d 1120, 1131 n.73 (9th Cir. 2002) (citing Circular 4).
                                                                               (20 of 61)
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                           fixed before February 15, 1972. The
                           preexisting recorded sounds must be
                           rearranged, remixed, or otherwise altered in
                           sequence or character, or the recording must
                           contain additional new sounds. The new or
                           revised sounds must contain at least a
                           minimum amount of original sound recording
                           authorship.

                           Examples of derivative sound recordings
                           include:

                               • A mashup comprising tracks and sounds
                               from multiple sources.

                               • Additional tracks added to a previously
                               published album.

                           Mechanical changes or processes, such as a
                           change in format, declicking, or noise
                           reduction, generally do not contain enough
                           original authorship to warrant registration

                  United States Copyright Office’s Circular No. 56, Copyright
                  Registration for Sound Recordings, Revised Sept. 2017
                  (“Circular 56”), available at <https://www.copyright.gov/
                  circs/circ56.pdf>. 6 In common with the cases noted above,
                  Circular 56 identifies original authorship as the touchstone

                      6
                        The district court discussed an earlier version of Copyright Office
                  Circular 56 and cited a key example therein of a derivative sound
                  recording: “a remastering that involves multiple kinds of creative
                  authorship, such as adjustments of equalization, sound editing, and
                  channel assignment.” This example has since been removed from the
                  updated version of Circular 56.
                                                                               (21 of 61)
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                  of a copyright eligible derivative work and calls for either
                  “additional new sounds” or some other minimum amount of
                  original sound recording authorship, such as the
                  rearrangement, remixing, or alteration of sounds in sequence
                  or character. Id. According to the Circular, changes to
                  format, declicking and noise reduction, even if perceptible,
                  do not amount to the minimal amount of original sound
                  recording authorship necessary under the law and do not
                  warrant separate copyright protection.

                      From the foregoing, it should be evident that a
                  remastered sound recording is not eligible for independent
                  copyright protection as a derivative work unless its essential
                  character and identity reflect a level of independent sound
                  recording authorship that makes it a variation
                  distinguishable from the underlying work. The essential
                  character and identity of a sound recording include, inter
                  alia, the aggregate of the “emphasis or the shading of a
                  musical note, the tone of voice, the inflection, the timing of
                  a vocal rendition, musical or spoken,” 1 Nimmer on
                  Copyright § 2.10 (2018); the choice of instrumental, vocal
                  and percussion components; and the subtleties of dynamics
                  and other performance characteristics that together result in
                  “something irreducible, which is one [band’s] alone.” See
                  Bleistein v. Donaldson Lithographing Co., 188 U.S. 239,
                  250 (1903) (Holmes, J.). Such factors distinguish an original
                  vocal rendition of a song from the vocal rendition of the
                  same song by another singer and are not present when an
                  original vocal rendition is merely remastered.              A
                  remastering, for example, of Tony Bennett’s “I Left My
                  Heart in San Francisco” recording from its original analog
                  format into digital format, even with declicking, noise
                  reduction and small changes in volume or emphasis, is no
                  less Bennett’s “I Left My Heart in San Francisco”
                  recording—it retains the same essential character and
                                                                               (22 of 61)
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                  identity as the underlying original sound recording,
                  notwithstanding the presence of trivial, minor or
                  insignificant changes from the original. That is so even if
                  the digital version would be perceived by a listener to be a
                  brighter or cleaner rendition.

                      If an allegedly derivative sound recording does not add
                  or remove any sounds from the underlying sound recording,
                  does not change the sequence of the sounds, and does not
                  remix or otherwise alter the sounds in sequence or character,
                  the recording is likely to be nothing more than a copy of the
                  underlying sound recording and is presumptively devoid of
                  the original sound recording authorship required for
                  copyright protection. Such a work lacks originality. This
                  presumption may, of course, be overcome, by showing that
                  the work contains independent creative content,
                  recognizable contributions of sound recording authorship or
                  variations in defining aspects that give a derivative sound
                  recording a new and different essential character and
                  identity.

                       A number of practical considerations, including but not
                  limited to the considerations that follow, inform a
                  determination of the essential character and identity of a
                  remastered sound recording. First, the mere translation of a
                  work from an analog to a digital medium to take advantage
                  of technological improvements does not itself transform the
                  essential character and identity of the underlying work. See
                  Meshwerks, 528 F.3d at 1267 (“[W]e hold, as many before
                  us have already suggested, that standing alone, ‘[t]he fact
                  that a work in one medium has been copied from a work in
                  another medium does not render it any the less a ‘copy’’”
                  (citing 2 Nimmer on Copyright § 8.01[B])); L. Batlin,
                  536 F.2d at 489 (holding that changes in the plastic bank,
                  such as the “functional one of making a more suitable (and
                                                                               (23 of 61)
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                  probably less expensive) figure in the plastic medium” and
                  the aesthetic decision to replace the arrows with feathers
                  because arrows did not reproduce well in plastic, were not
                  original); Entm’t Res. Grp., 122 F.3d at 1221, 1223 (with
                  respect to sculptural works, explaining that “any aspects of
                  ERG’s costumes that are purely functional, utilitarian or
                  mechanical will not be given any copyright protection” and
                  agreeing “with the district court's conclusion that the
                  differences in form, texture and proportionality that ERG
                  points to as nontrivial differences all stemmed from
                  functional considerations”). See also Durham, 630 F.2d at
                  913 (“[C]opyright protection extends only to the artistic
                  aspects, but not the mechanical or utilitarian features, of a
                  protected work.”). Such functionally driven decision-
                  making does not demonstrate the kind of originality with
                  which copyright is exclusively concerned.

                       Second, a remastering engineer’s objective “to make a
                  copy of someone else’s creation, rather than to create an
                  original work,” Meshwerks, 528 F.3d at 1268, even if that
                  task seeks to improve quality, brightness or crispness of
                  sound, is persuasive evidence that the final product likely
                  contains little more than a trivial contribution and does not,
                  in fact, result in an original work. See Entm’t Res. Grp.,
                  122 F.3d at 1223 (“ERG’s customers—the companies—
                  wanted costumes replicating their characters. Thus, because
                  ERG followed detailed instructions from its customers
                  regarding exactly how they wanted the costumes to appear,
                  it cannot be said that ERG’s artistic contributions were more
                  than merely trivial contributions.”).

                      Finally, the process used to create the derivative work is
                  seldom informative of originality in the copyright sense.
                  Meshwerks, 528 F.3d at 1268. The remastering engineer’s
                  application of “intensive, skillful, and even creative labor . . .
                                                                               (24 of 61)
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                  does not guarantee its copyrightability.” Id.; see also L.
                  Batlin, 536 F.2d at 491 (“Nor can the requirement of
                  originality be satisfied simply by the demonstration of
                  ‘physical skill’ or ‘special training.’”). In Meshwerks, the
                  exercise of independent technical and aesthetic judgment in
                  adjusting the wire-frames did not result in a copyright
                  eligible work, as those efforts were directed wholly to more
                  effectively representing the underlying works, not to
                  changing or adding to those works. 528 F.3d at 1268.

                                                B

                      In this case, the district court determined that “at least
                  some perceptible changes were made to Plaintiff’s Pre-1972
                  Sound Recordings” and that these changes were not merely
                  “mechanical” or “trivial.” Therefore, the district court held,
                  there was no genuine dispute of material fact that the
                  remastered works performed by CBS were “sufficient[ly]
                  original[].” Id. at 12. This conclusion was legal error.

                      In Entertainment Research Group, for example, the
                  costumes were clearly distinguishable from the underlying
                  characters. We nevertheless held that the costume-makers’
                  contributions were not original because the costumes would
                  not be identified as distinguishable variations; i.e., the
                  essential character and identity of each were not changed.
                  Entm’t Res. Grp., 122 F.3d at 1223–24 (“Viewing the three-
                  dimensional costumes and the two-dimensional drawings
                  upon which they are based, it is immediately apparent that
                  the costumes are not exact replicas of the two-dimensional
                  drawings,” but there was no originality because “no
                  reasonable trier of fact would see anything but a direct
                  replica of the underlying characters.”); see also Meshwerks,
                  528 F.3d at 1267 (holding that the derivative digital wire
                  frame models were “a peculiar kind of copy” of Toyota
                  vehicles, although the wire models did not “recreate Toyota
                                                                               (25 of 61)
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                  vehicles outright—steel, rubber, and all”); Durham,
                  630 F.2d at 909 (“The three Tomy figures are instantly
                  identifiable as embodiments of the Disney characters in yet
                  another form: Mickey, Donald and Pluto are now
                  represented as small, plastic, wind-up toys,” although the
                  underlying Disney characters did not include the wind-up
                  mechanism in the derivative toys.).

                      Here, there is no dispute that all of the sounds contained
                  in the remastered sound recordings—the vocals,
                  instruments, inflection, dynamics, rhythms, and
                  sequences—were initially fixed in a studio before 1972.
                  There is also no dispute that the remastering engineers did
                  not add or remove any sounds and did not edit or resequence
                  the fixed performances. For these reasons, the remasters
                  presumptively lacked the originality necessary to support
                  copyright protection as derivative works.

                      The district court, in ruling otherwise and concluding
                  that no genuine issues of material fact exist on the originality
                  of the digital remasters, applied an incorrect test. In doing
                  so, the district court placed critical reliance on the testimony
                  of CBS’s expert, Begault. Begault explained that the
                  digitally perceptible changes to “timbre, spatial imagery,
                  sound balance, and loudness range” that he identified in the
                  remastered sound recordings were measures of sound
                  quality. 7 Such technical improvements associated with the

                      7
                         Title 17, Section 114(b) explains that the exclusive right of a
                  copyright holder in a sound recording “is limited to the right to prepare
                  a derivative work in which the actual sounds fixed in the sound recording
                  are rearranged, remixed, or otherwise altered in sequence or quality.”
                  (emphasis added). We read “quality” in § 114 to be referring to character
                  and identity rather than a measure of improvement. See Quality, Miriam-
                  Webster (July 19, 2018), https://www.merriam-webster.com/
                  dictionary/quality.
                                                                               (26 of 61)
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                  translation of the analog pre-1972 sound recordings into a
                  digital medium, however, do not support a finding of
                  originality. See L. Batlin, 536 F.2d at 489 (rejecting changes
                  made for the “functional” purpose “of making a more
                  suitable (and probably less expensive) figure in the plastic
                  medium”); Entm’t Res. Grp., 122 F.3d at 1223 (discounting
                  differences in form, texture and proportionality arising out
                  of the need to create space for a human to fit into a 3-D
                  costume); Meshwerks, 528 F.3d at 1267 (holding that the
                  technical adjustments of data points to more accurately
                  reflect Toyota vehicles in a digital medium did not constitute
                  the kind of contribution to qualify for copyright).

                      The purpose and effect of the remastering here was
                  similarly a technical improvement. In its brief to this court,
                  CBS explained that the reason for the remastering was to
                  overcome the technical limitations of vinyl using the “nearly
                  unlimited” sound range that CDs could reproduce. William
                  Inglot, a remastering engineer responsible for some of the
                  remastered sound recordings here and one of CBS’s
                  witnesses, testified that his goal was to do a “good job,” to
                  “do a better version of maybe what the production process
                  was at that time because you have a little more control than
                  maybe they had,” by “taking advantage of the technology.”

                      Begault analyzed the differences between the pre-1972
                  sound recordings and the remastered sound recordings using
                  sensitive digital analysis and concluded that the remastered
                  sound recordings would be different if there was any
                  difference in any of the four analyzed characteristics. But
                  Begault nowhere analyzed whether the changes he identified
                  reflected any original sound recording authorship that might
                  have changed the essential character and identity of the
                  resulting sound recordings. The technical changes as
                  measured by sensitive digital analysis does not necessarily
                                                                               (27 of 61)
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                  result in a change in the essential character and identity of
                  the work in question. ABS’s expert, Geluso, aptly explained
                  this shortcoming of Begault’s analysis: “I believe that two
                  sound recordings would have to be nearly identical to pass
                  all four of [Begault’s] tests. For example, Begault set a
                  standard of 1 dB of loudness differential for two recordings
                  as his passing mark. This is unreasonably extreme. In my
                  experience, 1dB of dynamic range compression is barely
                  audible and will most likely go undetected by a listener.”
                  Geluso also explained that the spectral balance of a sound
                  recording can be adjusted on most consumer listening
                  equipment, and the loudness can be adjusted on most
                  consumer software used to create and edit music. It is
                  unlikely that such changes—even if made with more
                  technical expertise by a remastering engineer and fixed in a
                  sound recording—would amount to a change in the essential
                  character and identity of the sound recording.

                      The district court excluded several paragraphs of
                  Geluso’s declaration as unscientific, based on unreliable
                  methodology, lacking adequate foundation as expert
                  testimony, unnecessary and irrelevant. The district court
                  found Geluso’s critical listening methods to be unscientific,
                  and “unexplained in Mr. Geluso’s declaration.” But in his
                  declaration, Geluso cited an FBI report on forensic sound
                  recording analysis that held out critical listening as an
                  essential component of forensic audio analysis. Also,
                  despite Geluso’s testimony that he critically listened to all of
                  the recordings he examined, the district court found fatally
                  deficient the fact that Geluso limited his waveform and
                  spectral analysis to the first five seconds of each recording.
                  While the shortness of the technical analysis impacts the
                  weight of that testimony, there is no reason to question the
                  science behind or the methodology of such testing for
                  whatever it may show. And the district court failed to
                                                                               (28 of 61)
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                  explain why five seconds of waveform analysis was
                  insufficient to determine whether the pre-1972 and
                  remastered sound recordings embodied the same
                  performances. Moreover, Geluso’s testimony, offered in
                  rebuttal to the testimony of CBS’s expert, Begualt, addressed
                  the nature and extent of the differences between the original
                  analog recordings and the digitally remastered sound
                  recordings and was thus directly relevant to the issue of
                  originality before the court. The district court also found
                  deficient the fact that Geluso excluded from his report a
                  phase inversion test from the first test he attempted. But that
                  is not an adequate basis to exclude Geluso’s testimony. That
                  test merely identifies the fact of difference—something that
                  ABS and Geluso do not contest exists between the pre-1972
                  and remastered sound recordings. The district court’s
                  exclusion of Geluso’s testimony was an abuse of discretion,
                  and his testimony should be considered in full by the district
                  court on remand.

                      The district court also erred in failing to consider ABS’s
                  objective in creating the digital remasters. ABS hired
                  recording engineers to create digitally remastered sound
                  recordings of the pre-1972 sound recordings in order to
                  allow for digital distribution and compilation albums and to
                  take advantage of the improvements enabled by digital
                  technology, not to introduce any substantive changes. As
                  one ABS representative explained: “we understood as the
                  technology increased, as things went from LP and cassette
                  to CD [that the recordings would be re-mastered] . . . in such
                  a way that they could be CD’s made out of them. They had
                  to go digital. We knew they were going to have to be
                  converted analog to digital.” Plaintiff Brunswick’s
                  representative agreed, stating that “in order to release
                  recordings in a digital format that they would in fact be
                  remastered.” And Inglot testified that his goal was to “do a
                                                                               (29 of 61)
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                  better version of maybe what the production process was at
                  that time because you have a little more control than maybe
                  they had” by “taking advantage of the technology.” Another
                  declaration submitted by Plaintiffs averred that they “never
                  would have permitted a Licensee to make any substantial or
                  non-trivial changes to the sound of the Recordings when
                  creating a remastered copy.” Nothing in the record suggests
                  that ABS set out to make any substantive changes or
                  distinguishable variations that would give the digital
                  remasters a different essential character or identity, to add
                  any original sound recording authorship or to do anything
                  other than make accurate copies in digital format of the
                  original analog sound recordings.

                      Notwithstanding the above, CBS argues that all that is
                  needed to support copyright is “more than a merely trivial
                  variation,” Schrock v. Learning Curve Int’l, Inc., 586 F.3d
                  513, 521 (7th Cir. 2009), and that this is the test mandated
                  by U.S. Auto Parts and properly adopted by the district court.
                  CBS argues that it met its burden when it pointed out
                  deficiencies in ABS’s claims, and that ABS failed to provide
                  significant probative evidence that the differences between
                  the pre-1972 and the remastered sound recordings were
                  mechanical, trivial, or insufficiently original.

                      CBS is correct that the threshold of creativity for
                  copyright eligibility often is characterized as minimal, and
                  that the courts police the amount of creativity only within the
                  “narrowest and most obvious limits.” Bleistein, 188 U.S. at
                  251; 1 Nimmer on Copyright § 2.01[B][1] (2018). But that
                  relatively low bar does not eliminate the fundamental
                  requirement of originality that is the touchstone of copyright
                  protection. Here, the district court’s identification of
                  “perceptible changes” between the recordings in
                  characteristics relating to “quality” did not ensure that the
                                                                               (30 of 61)
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                  remastered versions contained anything of consequence
                  owing its origin to the remastering engineers. As discussed
                  above, a derivative sound recording that merely exhibits
                  perceptible changes does not necessarily exhibit a change to
                  the essential character and identity of the work or reflect the
                  addition of even a minimal amount of sound recording
                  authorship or originality. See also 1 Nimmer on Copyright
                  § 3.03 (2018) (“Any variation will not suffice, but one that
                  is sufficient to render the derivative work distinguishable
                  from its prior work in any meaningful manner will be
                  sufficient.”).

                      CBS also argues that “copyrightability is [] purpose-
                  agnostic,” and that the creation of a derivative work for “the
                  purpose of migrating expression from one format to another”
                  is a proper copyrightable purpose, relying on New York
                  Times Co. v. Tasini, 533 U.S. 483 (2001). CBS is incorrect.
                  In Tasini, freelance article authors authorized the inclusion
                  of their articles into a newspaper, a collective work. The
                  authors sued when their articles were included in an
                  electronic database of newspapers in a form excised from the
                  newspaper of which they were a part. Id. at 491. The
                  Supreme Court concluded that the authors maintained their
                  copyright in the articles, and that the electronic database
                  infringed the authors’ copyright in their articles. Id. at 503–
                  04. Tasini does not say that a mere migration of a work into
                  a new medium justifies an independent copyright.

                      Finally, CBS argues that the district court was correct to
                  rely on Maljack Prods., Inc. v. UAV Corp., 964 F. Supp.
                  1416 (C.D. Cal. 1997), aff'd sub nom. Batjac Prods. Inc. v.
                  GoodTimes Home Video Corp., 160 F.3d 1223 (9th Cir.
                  1998) to support its understanding that changes in
                  equalization and quality in a sound recording support a
                  derivative work copyright. In Maljack, the derivative work
                                                                               (31 of 61)
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                  was a “panned and scanned” adaptation of a movie and its
                  soundtrack. 964 F. Supp. at 1418. The enhancements to the
                  public domain soundtrack there included “edit[ing] the
                  motion picture’s monoaural soundtrack by remixing,
                  resequencing, sweetening, equalizing, balancing, and
                  stereoizing it, and also add[ing] entirely new sound
                  material.” Id. Here the remastering process did not include
                  remixing or stereoizing. The changes in the soundtrack in
                  Maljack accompanied and had to track the changes to the
                  visual changes resulting from the pan-and-scan film
                  reformatting, which resulted in a cut of 44% of the film. Id.
                  at 1427. Also, the soundtrack accompanying the pan-and-
                  scan version was independently registered by the copyright
                  office as a derivative work, creating a presumption of
                  copyright validity that the court found was not overcome. Id.
                  at 1428. None of these circumstances are present here. To
                  the extent that Maljack held that the “noticeable
                  improvement [in quality] over the public domain version”
                  could create copyright eligibility, we do not consider that
                  aspect of Maljack persuasive. See id.

                      We therefore conclude that a derivative sound recording
                  distinctly identifiable solely by the changes incident to the
                  change in medium generally does not exhibit the minimum
                  level of originality to be copyrightable. In this case, the
                  district court did not analyze whether the changes in quality
                  identified by Begault were anything other than merely
                  incidental to the transfer from the analog to the digital
                  medium.

                       Nothing in this opinion should be construed to question
                  or limit the creative contributions of the recording engineers
                  and/or record producers responsible for the recording
                  session that led to the initial fixation of the sound recording.
                  The initial producer/engineer’s role is often to work in
                                                                               (32 of 61)
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                  collaboration with the performing artists to make many of
                  the creative decisions that define the overall sound of the
                  recording as fixed, including such things as microphone
                  choice, microphone placement, setting sound levels,
                  equipment used, processing filters employed, tapes selected,
                  session structure, and other similar decisions analogous to
                  the creative choices of photographers that courts have
                  consistently held to be original. See United States Copyright
                  Office and Sound Recordings as Works Made for Hire:
                  Hearing Before the Subcomm. on Courts and Intellectual
                  Property of the H. Comm. on the Judiciary, 106th Cong. 2nd
                  Sess. (2000) (statement of Marybeth Peters, Register of
                  Copyrights) (“The copyrightable elements in a sound
                  recording will usually, though not always, involve
                  ‘authorship’ both on the part of the performers whose
                  performance is captured and on the part of the record
                  producer responsible for setting up the recording session,
                  capturing and electronically processing the sounds, and
                  compiling and editing them to make the final sound
                  recording.”); cf. Burrow-Giles, 111 U.S. at 60 (holding that
                  photographs are copyrightable to the extent of the
                  photographer’s decisions with respect to costume,
                  accessories, pose of subjects, light and shade and evoking
                  the desired expression).

                      The role of remastering engineers, however is usually
                  very different from the role of the studio engineers. Studio
                  engineers’ decisions almost always contribute to the
                  essential character and identity contained in the original
                  sound recording. By contrast, the remastering engineer’s
                  role is ordinarily to preserve and protect the essential
                  character and identity of the original sound recording, and to
                  present that original sound recording in the best light
                  possible by taking advantage of technological
                  improvements. For example, Inglot testified that his goal
                                                                               (33 of 61)
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                  was to “do a better version of maybe what the production
                  process was at that time because you have a little more
                  control than maybe they had” by “taking advantage of the
                  technology.” Although we do not hold that a remastered
                  sound recording cannot be eligible for a derivative work
                  copyright, a digitally remastered sound recording made as a
                  copy of the original analog sound recording will rarely
                  exhibit the necessary originality to qualify for independent
                  copyright protection.

                                                C

                      The second prong of the U.S. Auto Parts/Durham test
                  requires that a copyright-eligible derivative work must
                  “reflect the degree to which it relies on preexisting material
                  and must not in any way affect the scope of any copyright
                  protection in that preexisting material.” U.S. Auto Parts,
                  692 F.3d at 1016. This prong ensures that a derivative work
                  author—even one who contributes the requisite amount of
                  creative authorship under the first prong—does not “prevent
                  the owner of the preexisting work from exercising some of
                  its rights under copyright law.” Id. at 1017. This prong
                  protects the author’s right to authorize later derivative works
                  without concern for aggressive enforcement against those
                  later derivative works by the earlier derivative work
                  copyright holder. In Entertainment Research Group, for
                  example, we explained that “if ERG had copyrights for its
                  costumes, any future licensee who was hired to manufacture
                  costumes depicting these characters would likely face a
                  strong copyright infringement suit from ERG.” 122 F.3d at
                  1224; see also U.S. Auto Parts, 692 F.3d at 1020 (applying
                  the second prong of the Durham test and concluding in that
                  case, copyright in a derivative work would not circumscribe
                  rights of the copyright holder in the underlying work).
                                                                               (34 of 61)
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                       The district court’s failure to fully consider this second
                  prong here was legal error. See Entm’t Res. Grp., 122 F.3d
                  at 1219 (adopting the Durham test over the previously
                  applicable Doran test that looked only at substantial
                  difference between the derivative and underlying work,
                  “because the Doran test completely fails to take into account
                  the rights of the holder of the copyright for the underlying
                  work,” and therefore “should not be applied to determine the
                  copyrightability of a derivative work that is based on a
                  preexisting work that is itself copyrighted.”). Moreover,
                  applying that prong, there is at least a genuine issue of
                  material fact whether granting copyright protection for the
                  remastered sound recordings here would undermine ABS’s
                  rights in the pre-1972 sound recordings to authorize
                  additional derivative works. Were ABS intent on granting
                  an authorization to create an intentionally derivative work,
                  for example by authorizing use of the underlying works as
                  samples or remixes, those authorized works would be at high
                  risk of infringement suits from the remastered sound
                  recording copyright holders. This risk would, in effect, grant
                  the remastered sound recording copyright holder a “de facto
                  monopoly” on derivative works. See id. at 1224. Indeed, in
                  this case, where the underlying and derivative works are both
                  sound recordings with few, if any, readily discernable
                  differences, and the derivative work is the only one available
                  in the vastly more accessible and marketable digital medium,
                  the danger that the copyright holder of the derivative work
                  could bring suit against a potential licensee of the underlying
                  work is particularly acute.

                      If, on remand, the factfinder concludes that any or all of
                  the remastered sound recordings here do manifest a change
                  sufficient to create a derivative, copyrightable work, the
                  factfinder should also consider the effect of recognizing a
                  copyright in the remastered sound recording on ABS’s
                                                                               (35 of 61)
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                  ability to exercise whatever copyrights it may possess in the
                  pre-1972 sound recording.

                      For the above reasons, we conclude that the district court
                  erred in holding that there were no genuine issues of material
                  fact that the remastered sound recordings used by CBS were
                  independently copyright eligible. We therefore reverse the
                  grant of summary judgment to CBS as to that issue.

                                                D

                      The parties here dispute whether ABS authorized the
                  remastering engineer to create derivative works, whether
                  such permission was necessary, and which party bears the
                  burden to show such authorization (or lack thereof). This
                  issue arises, of course, only if the remastered recordings
                  were derivative works. As we have determined that CBS was
                  not entitled to summary judgment on that question, we
                  address the authorization issue for guidance on remand.

                      The owner of a copyright has the exclusive right to
                  prepare derivative works, 17 U.S.C. § 106(2), and to grant
                  or withhold authorization to create such derivative works.
                  Schrock, 586 F.3d at 522–23. In Schrock, photographer
                  Schrock was hired by Learning Curve to photograph Thomas
                  the Tank Engine. Id. at 515. Learning Curve and HIT
                  Entertainment, the Thomas the Tank Engine copyright
                  holder, used Schrock’s photographs for several years. Id.
                  When Learning Curve stopped hiring Schrock as a
                  photographer, he registered his photographs and sued
                  Learning Curve and HIT for infringement. Id. Like here, it
                  was undisputed that Schrock had permission to make the
                  photographs. But Learning Curve argued that the
                  photographer also needed Learning Curve’s permission to
                  copyright the photographs. Id. The district court granted
                  summary judgment to Learning Curve, concluding that the
                                                                               (36 of 61)
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                  photographs were derivative works, and that although
                  Schrock had permission to make the photographs, he did not
                  have permission to copyright them. Id. The Seventh Circuit
                  reversed, stating: “As long as he was authorized to make the
                  photos (he was), he owned the copyright in the photos to the
                  extent of their incremental original expression.” Id. We
                  agree with that holding. The Seventh Circuit also explained
                  that although this was the default rule, parties could alter this
                  rule by contract. Id. at 523–24. Because the license
                  agreements among the parties were not entered into the
                  record, the Seventh Circuit remanded to the district court to
                  determine whether the parties altered the default rule by
                  contract. Id. at 525.

                      It is undisputed here that the remastering engineers were
                  authorized to do exactly what they did. On remand, if the
                  authorization issue is raised in a further summary judgment
                  motion or at trial, the district court should give ABS the
                  opportunity to produce copies of its license agreements and
                  should determine whether any such agreements altered the
                  default rule on authorization.

                                                 V

                      We next address whether the district court abused its
                  discretion in excluding the Triton Reports as evidence under
                  the business records exception. Business records may be
                  admitted under Fed. R. Evidence 803(6) when:

                          (A) the record was made at or near the time
                          by—or from information transmitted by—
                          someone with knowledge;

                          (B) the record was kept in the course of a
                          regularly conducted activity of a business. . .
                                                                               (37 of 61)
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                         (C) making the record was a regular practice
                         of that activity;

                         (D) all these conditions are shown by the
                         testimony of the custodian or another
                         qualified witness, . . . and

                         (E) the opponent does not show that the
                         source of information or the method or
                         circumstances of preparation indicate a lack
                         of trustworthiness.

                  Fed. R. Evidence 803(6).

                      ABS argues that the district court abused its discretion in
                  rejecting the Triton Reports because those reports fit
                  squarely within the business records hearsay exception.
                  CBS argues that Mr. Neiman, a CBS employee relied upon
                  by ABS to provide the foundation for the business records
                  exception, did not know how the Triton Reports were made
                  or maintained, see NLRB v. First Termite Control Co.,
                  646 F.2d 424, 427 (9th Cir. 1981), and was not a Triton
                  employee.

                      We conclude that Mr. Neiman was qualified to establish
                  the foundation for the business records exception, and that
                  the district court abused its discretion in excluding the Triton
                  Reports. The business records exception only requires
                  “someone with knowledge” about the record-keeping, not
                  necessarily an employee of the business or someone with
                  knowledge of how the reports were made or maintained. See
                  FDIC v. Staudinger, 797 F.2d 908, 910 (10th Cir. 1986). Mr.
                  Neiman testified that Triton was hired by CBS to create the
                  reports, and that CBS sent those reports to Sound Exchange
                  to determine artist royalties.
                                                                               (38 of 61)
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                      We agree with ABS that First Termite Control is
                  inapposite here. First Termite Control held that business
                  records, to be admissible under the business records
                  exception, must be supported by testimony of a witness
                  knowledgeable about the creation and maintenance of those
                  records. 646 F.2d at 417. But in that case, the accuracy of
                  the records was contested. Here, CBS itself relied on the
                  reports to establish its royalty payments to Sound Exchange
                  in the ordinary course of business. The accuracy of the
                  records is not in question. In a similar situation, we have
                  held that third party reports of this kind fall within the
                  business records exception. See United States v. Childs,
                  5 F.3d 1328, 1334 and n.3 (9th Cir. 1993) (distinguishing
                  First Termite Control due to reliance on third party reports
                  by company challenging their admissibility). CBS has
                  presented no evidence or argument showing that the Triton
                  Reports were unreliable or inaccurate.

                       The district court also held that, if it were to consider the
                  Triton Reports, it would nevertheless conclude that the
                  listing of a name and song title in the Triton Reports was
                  legally insufficient to create a genuine issue of material fact
                  “[a]bsent the comparative analysis” to show that the
                  performed sound recordings were not different recordings.

                      We conclude that the district court here erroneously
                  decided a genuine issue of material fact at summary
                  judgment. We agree with ABS that the Triton Reports
                  contain an album title, and sometimes the company label,
                  and so would be sufficient for a jury to infer that the records
                  CBS performed were the versions captured in Plaintiffs’ pre-
                  1972 sound recordings. The Triton Reports were used by
                  CBS to govern the royalties paid to recording artists via
                  Sound Exchange; CBS has failed to present evidence that
                  these same reports were not sufficient to identify the
                                                                               (39 of 61)
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                          ABS ENTERTAINMENT V. CBS CORPORATION                  39

                  recording artists or the versions performed. The district
                  court erred in finding the absence of a genuine issue of
                  material fact with respect to the samples listed in the Triton
                  Reports.

                                                 VI

                    Finally, we address the district court’s dismissal of
                  ABS’s class certification motion.

                      Central District of California Local Rule 23-3 requires
                  Plaintiffs to file a motion for class certification within ninety
                  days after service of the complaint. The parties here twice
                  stipulated to extend the deadline, explaining in the second
                  stipulation that ABS needed more time for class action-
                  focused discovery. The district court denied the first
                  stipulation for failure to show good cause, and denied the
                  second without explanation. The district court did not
                  address the asserted need for pre-certification discovery.

                      Despite the district court’s rulings, ABS timely filed its
                  motion for class certification on November 19, 2015. The
                  district court struck the motion because of two technical
                  deficiencies: (1) noticing the hearing outside the thirty-five-
                  day period required by the Judge’s Standing Order and
                  (2) not including in the notice of motion a statement that the
                  parties had met and conferred and the date on which such a
                  conference took place, as required by Local Rule 7-3.
                  Having thus stricken the timely motion, the district court
                  then dismissed the motion for class certification for failure
                  to file a timely motion for class certification under Local
                  Rule 23-3.

                      ABS argues that the district court abused its discretion in
                  striking the timely filed motion as a sanction for what it
                  categorizes as “trivial” omissions in the notice.
                                                                               (40 of 61)
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                      Central District of California Local Rule 23-3 sets a strict
                  90-day time frame from the filing of a complaint to the
                  motion for class action certification. This bright line rule is
                  in direct contrast to the flexibility of the Federal Rule, which
                  calls for a determination on class certification “[a]t an early
                  practicable time after a person sues or is sued as a class
                  representative.” Fed. R. Civ. P. 23(c)(1)(A). That flexible
                  approach makes sense. The class action determination can
                  only be decided after the district court undertakes a “rigorous
                  analysis” of the prerequisites for certification. Wal-Mart
                  Stores, Inc. v. Dukes, 564 U.S. 338, 350–51 (2011) (quoting
                  Gen. Tele. Co. of SW v. Falcon, 457 U.S. 147, 161 (1982)).
                  To undertake that analysis may require discovery. Kamm v.
                  Cal. City Dev. Co., 509 F.2d 205, 210 (9th Cir.1975) (“The
                  propriety of a class action cannot be determined in some
                  cases without discovery;” “To deny discovery in [such
                  cases] would be an abuse of discretion.”).

                      The district court’s actions here demonstrate the
                  impracticability of the 90-day limit, particularly in
                  combination with the district court’s summary and
                  unexplained denial of the parties’ joint stipulation to extend
                  the 90-day deadline based on the need for pre-certification
                  discovery. See Barbara J. Rothstein & Thomas E. Willging,
                  Federal Judicial Center, Managing Class Action Litigation:
                  A Pocket Guide for Judges 9 (3d ed. 2010) (“Considering
                  [Fed. R. Civ. P. 23(c)(1)], you should feel free to ignore local
                  rules calling for specific time limits; such local rules appear
                  to be inconsistent with the federal rules and, as such,
                  obsolete.”); Federal Judicial Center, Manual for Complex
                  Litigation, Fourth § 21.133 (“Some local rules specify a
                  short period within which the plaintiff must file a motion to
                  certify a class action. Such rules, however, may be
                  inconsistent with Rule 23(c)(1)(A)’s emphasis on the
                  parties’ obligation to present the court with sufficient
                                                                               (41 of 61)
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                  information to support an informed decision on certification.
                  Parties need sufficient time to develop an adequate record.”).

                      Although the district court’s application and
                  interpretation of its Local Rules is entitled to “a large
                  measure of discretion,” Lance, Inc. v. Dewco Servs., Inc.,
                  422 F.2d 778, 784 (9th Cir. 1970), Local Rules cannot be
                  incompatible with Federal Rules. Fed. R. Civ. P. 83(a)(1).
                  We conclude that the bright-line of Local Rule 23-3 is
                  incompatible with Federal Rule of Civil Procedure 23.

                      We therefore reverse the district court’s striking of
                  ABS’s certification motion, and remand for consideration of
                  the class action motion on the merits, including
                  reconsideration of whether pre-certification discovery is
                  warranted.

                                               VII

                      On October 11, 2018, Congress enacted the Orrin G.
                  Hatch-Bob Goodlatte Music Modernization Act, Pub. L. No.
                  115-264 (“Music Modernization Act”). That Act replaced
                  17 U.S.C. § 301(c) with a new section preempting certain
                  state law claims for digital transmissions of pre-1972 sound
                  recordings that occur after the effective date of the Act. See
                  Pub. L. No. 115-264, sec. 202(a)(1). The Act also includes
                  a provision that

                         preempts any claim of common law
                         copyright or equivalent right under the laws
                         of any State arising from a digital audio
                         transmission or reproduction that is made
                         before the date of enactment of this section of
                         a sound recording fixed before February 15,
                         1972, if [certain requirements for compulsory
                         licensing and other criteria are met].
                                                                               (42 of 61)
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                  Pub. L. No. 115-264, sec. 202(a)(2) (to be codified at
                  17 U.S.C. § 1401(e)).

                      We need not and do not decide the extent to which these
                  and other sections of the newly passed legislation may be
                  relevant to any remaining issues and leave those
                  determinations to the district court to decide in the first
                  instance on remand.

                                             VIII

                      For the reasons discussed above, we REVERSE the
                  district court’s grant of summary judgment. We also
                  REVERSE the district court’s striking of ABS’s class action
                  motion as untimely, and the exclusion of Geluso’s
                  testimony.      We REMAND for further proceedings
                  consistent with this opinion. The district court should
                  consider ABS’s request for continuance of pre-certification
                  discovery, and, if appropriate, the merits of ABS’s class
                  action motion, at an early practicable time, as well as any
                  other issues it deems necessary.
                                                                               (43 of 61)
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                                                                                                    CIRCUL AR

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 Copyright Registration for
 Sound Recordings
 A sound recording is generally a                This circular provides general information about the require-
 recorded performance, often of                  ments for registering sound recordings with the U.S. Copy-
                                                 right Office. For specific information about this topic, see
 another work. It must be fixed—                 chapter 800 of the Compendium of U.S. Copyright Practices,
 captured in a medium from which                 Third Edition.1
 it can be perceived, reproduced, or
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 otherwise communicated—in a                     What is a Sound Recording?                         r 26   , 201
                                                                                             c tobe
 digital track, disc, tape, or other                                                   on O
                                               The Copyright Act defines soundr c  ved
                                                                                 hirecordings as “works that
 format. This circular introduces legal                                 1 7 a
                                                                   -559of a series of musical, spoken, or
                                               result from the fixation
                                                              . 16not
 concepts and registration issues                        ,
                                               other soundsNobut      including sounds accompanying a
                                                 C o rp.picture
 related to sound recordings. It covers . CBS  motion           or other audiovisual work.” Generally, a
                                           . v
                                        nc
                                  ent I
                                               sound recording is a recorded performance, often of another
 • Distinction between sound   n m
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                       tertaworks
                                               work.  A sound recording must be fixed, meaning that the
    recordingsBand E n
                    other
               A S
                                               sounds   must be captured in a medium from which they can
         d i n
    cite
 • Completing    an application                be perceived, reproduced, or otherwise communicated. The
                                               author may fix the sounds in a digital track, disk, tape, or
 • Deposit requirements                        other format.
 • Registering multiple sound                     Common examples of sound recordings include an audio
                                               recording of:
    recordings
                                                  • A person singing a song or playing a musical instrument.
 • Scope of copyright protection
                                                  • A person reading a book or delivering a lecture.
                                                    • A group of persons hosting a podcast or performing a
                                                      radio play.
                                                    • A person speaking, a dog barking, a bird singing, wind
                                                      chimes ringing, or other sounds from the natural world
                                                      (assuming the recording contains a sufficient amount
                                                      of production authorship).

                                                    A sound recording typically includes the contributions of
                                                 the parties whose performance is captured in the recording
                                                 and the parties who captured and processed those sounds
                                                 to make the final recording. Short sound recordings may lack




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        a sufficient amount of authorship to warrant copyright protection, just as words and short textual
        phrases are not copyrightable. Sound recordings captured by purely mechanical means without
        originality of any kind also lack a sufficient amount of authorship to warrant copyright protection.


        Sound Recordings Distinguished from Underlying Creative Works

        Sound recordings often contain other separate copyrightable creative works, such as songs, plays,
        lectures, or readings. The copyright in a sound recording covers the recording itself. It does not cover
        the music, lyrics, words, or other underlying content embodied in that recording. For example, the
        song “Rolling in the Deep” authored by Adele and Paul Epworth and a recording of Aretha Franklin
        singing “Rolling in the Deep” are two distinct works. The underlying music and lyrics are a “musical
        work,” and a recording of an artist performing that song is a “sound recording.”
           This circular focuses on registration issues involving sound recordings. It does not address reg-
        istration of the music, lyrics, or other content that may be embodied in the recording itself. For
        information on registering a song, book, or other content that may be embodied in a sound record-
        ing, see Copyright Registration for Musical Compositions (Circular 50) and chapter 700 of the Compen-
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        dium. For information on registering a sound recording together with the content embodied in
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        recording, see Copyright Registration of Musical Compositions and Sound Recordingsn(Circular
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                                                  No. Accompanying a Motion Picture
        Sound Recordings Distinguished from the.,Sounds
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                                   e n t Inc a sound recording and the soundtrack for a motion picture
         There is a legal distinction between
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                      n    rtainwork. The Copyright Act states that “sounds accompanying a motion picture
         or other audiovisual
                        tework”
                    E
              ABS
         or audiovisual          are not sound recordings. These types of sounds are considered part of the
        d i n
   cite  motion  picture  or  audiovisual  work.
           Common examples of works that do not qualify as sound recordings include:
           •	 The soundtrack for a cartoon, documentary, or major motion picture.
           •	 The soundtrack for an online video, music video, or concert video.
           •	 A musical performance during a scene or during the credits for a motion picture.


        Sound Recordings Distinguished from Phonorecords

        A sound recording is not the same as a phonorecord. A phonorecord is the statutory term for a
        physical object that contains a sound recording, such as a digital audio file, a compact disc, or an LP.
        The term “phonorecord” includes any type of object that may be used to store a sound recording,
        including digital formats such as .mp3 and .wav files.




        Copyright Registration for Sound Recordings                                                                      2
                                                                               (45 of 61)
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        Derivative Sound Recordings

        A derivative sound recording is an audio recording that incorporates preexisting sounds, such as
        sounds that were previously registered or published or sounds that were fixed before February
        15, 1972. The preexisting recorded sounds must be rearranged, remixed, or otherwise altered in
        sequence or character, or the recording must contain additional new sounds. The new or revised
        sounds must contain at least a minimum amount of original sound recording authorship.
            Examples of derivative sound recordings include:
           •	 A mashup comprising tracks and sounds from multiple sources.
           •	 Additional tracks added to a previously published album.
           Mechanical changes or processes, such as a change in format, declicking, or noise reduction, gen-
        erally do not contain enough original authorship to warrant registration.


        Registering a Sound Recording

                                                                                                                   20    18
        To register a claim to copyright in a sound recording, you must submit the following to the Copyright
                                                                                                       o b e r 26,
                                                                                                    ct “deposit
                                                                                               on O
        Office: (1) a completed application form; (2) a nonrefundable filing fee; and (3) the required
                                                                                       iv e d
                                                                                  arch
        copies” of your work. This circular highlights some common issues in registering     a sound  recording
                                                                             1 7
                                                                         559 recording, see chapter 800, section
        with the Copyright Office. For more guidance in registering a -sound
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        803.9 of the Compendium. For general registration .issues,
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                                                                                  Registration (Circular 2).
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            Completing the      nm
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                   S
       t e d in ABcompleting an online application, the Copyright Office offers the following tips.
   c i      When

        Type of Work

           •	 When you begin an application, select the “Sound Recording” option on the “Type of Work”
              screen. The questions you encounter when filling out the application are based on the
              choice you make at the beginning of the application. If you select the wrong option you will
              need to start over.

        Title

           •	 Provide the title exactly as it appears on the work itself.
           •	 When registering multiple sound recordings as an unpublished collection (see below), provide a
              title for the collection as a whole as well as the titles of the individual works within the collection.
           •	 When registering multiple sound recordings as a collective work or a unit of publication (see
              below), be sure to include the album title and list the individual track titles in the same order
              that they appear on the album.




        Copyright Registration for Sound Recordings                                                                           3
                                                                               (46 of 61)
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        Publication

        “Publication” occurs when phonorecords of a work are distributed to the public by sale, transfer of
         ownership, or by rental, lease, or lending. Offering to distribute phonorecords to a group of persons
         for the purpose of further distribution or publicly performing the work also constitutes publication.
         Simply performing a sound recording publicly does not constitute publication.
           • If the work has not been published, state that the work is “unpublished.”
           • If the work has been published, give the month, day, and year that phonorecords were first dis-
             tributed to the public or first offered to a group of persons for further distribution or public
             performance.

        Author

           • The author of a sound recording is the performer featured in the recording and the producer
             who captured and processed the sounds that appear in the final recording.
           • If the performer or producer created the sound recording during the course of his or her
             employment under a typical employment relationship, then the sound recording is a work
             made for hire, and the employer is the author of the sound recording.                                     8
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                                                                                                c t o ber 2 or
           • If the performer or producer created the sound recording for a third party as a compilation
                                                                                            nO
                                                                                   ch i  e o sound recording
             contribution to a collective work, and if the parties agreed in writing thatdthe
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                                                                             7 aofr the work.
             will be a “work made for hire,” then the third party is the author
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            For more information on works made for hire,.see       Works   Made for Hire (Circular 30).
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        Type of Authorship
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                           r t a i nmaesound recording, check the box for “Sound Recording”
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            • When registering
              A B S Enregistering artwork, photographs, or text of liner notes, include a brief statement to that
         i n•  When
   cited       effect in the “Other” field.
           • When registering a compilation or a collective work (see below), state “compilation of sound
             recordings” in the “Other” field.

        Limitation of Claim

           • When registering a derivative sound recording, identify the preexisting material in the “mate-
             rial excluded” field and identify the new material in the “new material included” field. If the
             preexisting material has been registered with the Copyright Office, include the registration
             number and year.




        Copyright Registration for Sound Recordings                                                                        4
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       Submitting the Deposit Copies of the Work

       To register your sound recording, you must submit the work to the Copyright Office. Once a deposit
       has been submitted, it becomes part of the public record and cannot be returned.
          When registering a sound recording that is unpublished or published solely in a digital form, the
       Copyright Office strongly encourages you to submit the deposit as a digital file uploaded through
       the online registration system. Do not also submit a physical phonorecord, such as a CD, flash drive,
       or other physical storage device. Each file must be uploaded in an acceptable file format and each
       uploaded file must not exceed 500 MB in size.
          When you are registering a sound recording published in a physical format, such as a compact
       disc or LP, submit the work in the physical format, even if there is a corresponding digital version.
       To submit a physical copy of your work after completing an online application, print a shipping slip
       from the bottom of the “Submit Your Work” screen and send the shipping slip and deposit in the
       same package to the address given on the shipping slip. To submit a physical copy of your work with
       a paper application, complete Form SR and submit the deposit in the same package with the appli-
       cation and the filing fee.
          If your sound recording has been published in the United States, you may need to comply with
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       the “best edition” requirement by sending two copies of the “best” edition that exists at the time
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       registration. The “best” edition generally is the highest quality edition that has beenn publicly
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       uted in the United States. The Library of Congress has identified the following
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       order, of what it considers to be the best edition for sound recordings:
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          1.   Compact disc
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          2. Vinyl disc
                                          .   v. CB
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          3.   Open-reel a inme
                         tape
              SE    ntert
          4.ABCartridge tape
        in
   cited 5. Cassette tape
          For example, if the work was published both on compact disc and vinyl disc before the date of
       the application to register the work, you should submit the compact disc rather than the vinyl disc.
          If your sound recording has not been published in any of the formats listed above, you may
       upload a digital file that contains any published version of the work.


       Registering Multiple Sound Recordings

       As a general rule, you must submit a separate application, filing fee, and deposit for each work you
       want to register. It may be possible to register multiple sound recordings with one application if they
       qualify for one of the following special registration accommodations.




       Copyright Registration for Sound Recordings                                                                         5
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       Unpublished Collection

       You may register multiple unpublished sound recordings as an “unpublished collection” if at least
       one performer or one producer created or co-created all of the recordings and if the claimant for
       each recording is the same person or organization.

               Example
                Sue Smith and Joe Jones co-create five unpublished sound recordings, and co-own the
                copyright. They may register the five unpublished sound recordings on one application. The
                registration will cover all five sound recordings.


       Collective Work

       You may register multiple sound recordings as a “collective work” if they have been assembled
       together into a collective whole, such as a digital album or compact disc. The registration will cover
       the copyrightable authorship in the selection, coordination, or arrangement of the collective work
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       as a whole. It also may cover each individual sound recording if (1) the collective work and ther indi-
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       vidual sound recordings are owned by the same party, and (2) the individual soundnrecordings
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       not been previously published or previously registered and are not in therchpublic
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               Examples
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                                                            C published a “best of ” album titled “Greatest Hits from
                                                     CBS
               This year, the Oldies Recording Company
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               the Age of Aquarius” featuring       sound recordings originally published in the late 1970s. The
                            ta
               Oldies Recordingi n mCompany     may   register “Greatest Hits from the Age of Aquarius” as a collec-
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               tive work.        registration  will cover the authorship involved in creating the album as a whole,
   cited        but will not cover the individual sound recordings because they were previously published.

               ABC Records, Inc., publishes a new album containing twelve new tracks that were never before
               published. ABC Records owns the copyright in both the album and the individual tracks. ABC
               Records may register the album as a collective work. The registration will cover both the album
               and the sound recordings because the copyright in both the sound recordings and the album
               are owned by the same party.


       Unit of Publication

       You may register multiple sound recordings as well as accompanying text and artwork as a “unit of
       publication,” if they were physically packaged or bundled together and if all of the recordings were
       first published together as that integrated unit. In addition, the entity that bundles the works together
       as the integrated unit must be the claimant in all the works that are submitted for registration.

               Example
               ABC Records bundles ten sound recordings on a CD with an insert containing text and pho-
               tographs, distributes the packaged unit to the general public, and owns the copyright in the
               sound recordings, text, and photographs. ABC Records may register the sound recordings, text,




       Copyright Registration for Sound Recordings                                                                      6
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               and photographs with one application as a unit of publication. The registration will cover all
               copyrightable content in the sound recordings, text, and photographs.

            For more information concerning these special registration accommodations, see Multiple Works
         (Circular 34).


         Copyright Protection in Sound Recordings

            Generally, the owner of a sound recording does not have the exclusive right to publicly perform that
            work under the Copyright Act. However, the owner of a sound recording does have the exclusive
            right to publicly perform a sound recording by means of a digital audio transmission.
               Before February 15, 1972, federal copyright law did not protect sound recordings, but common
            law, or in some cases statutes enacted in certain states, generally did. In 1971, Congress amended the
            copyright law to provide federal copyright protection for sound recordings fixed and first published
            with a statutory copyright notice on or after February 15, 1972. All sound recordings created after
            January 1, 1978, are automatically protected by copyright. A sound recording is considered created
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            when it is “fixed” in a phonorecord for the first time. Neither registration in the Copyright Office
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            nor publication is required for protection under the present law.
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               Before March 1, 1989, the use of copyright notice was mandatory on rall        visually
            or phonorecords of published works, and any work first published       1 7
                                                                                59 before that date should have car-
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                                                                        . published
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            ried a notice. The copyright notice is optional for .works               on and after March 1, 1989. For
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            more information about copyright notice,       see Copyright  Notice (Circular 3). 
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               The Uruguay Round AgreementsInc      Act, which became effective on January 1, 1996, restored copy-
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                            te ta sound recordings that were published without notice. For further information
            right protectionrfor   certain               foreign sound recordings fixed before February 15, 1972,
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             in AB restored sound recordings, see Copyright Restoration Under the URAA (Circular 38B).
            and certain  foreign
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         note
         1. This circular is intended as an introduction to registering sound recordings. The authoritative
         source for U.S. copyright law is the Copyright Act, codified in Title 17 of the United States Code. Copy-
         right Office regulations are codified in Title 37 of the Code of Federal Regulations. Copyright Office
         practices and procedures are summarized in the third edition of the Compendium of U.S. Copyright
         Office Practices, cited as the Compendium. The copyright law, regulations, and the Compendium are
         available on the Copyright Office website at www.copyright.gov.




        Copyright Registration for Sound Recordings                                                                              7
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       For Further Information


       By Internet
       The copyright law, the Compendium, electronic registration, application forms, regulations,
       and related materials are available on the Copyright Office website at www.copyright.gov.

       By Email
       To send an email inquiry, click the Contact Us link on the Copyright Office website.

       By Telephone
       For general information, call the Copyright Public Information Office at (202) 707-3000 or
       1-877-476-0778 (toll free). Staff members are on duty from 8:30 am to 5:00 pm, eastern time,
       Monday through Friday, except federal holidays. To request application forms or circulars by
       postal mail, call (202) 707-9100 or 1-877-476-0778 and leave a recorded message.

       By Regular Mail
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            Case 2:15-cv-06257-PA-AGR Document 112 Filed 10/31/18 Page 57 of 61 Page ID #:3973


           0RUH'HILQLWLRQVIRUquality

           TXDOLW\                QRXQ

           (QJOLVK/DQJXDJH/HDUQHUV'HILQLWLRQRIquality (QWU\RI
           KRZJRRGRUEDGVRPHWKLQJLV

           DFKDUDFWHULVWLFRUIHDWXUHWKDWVRPHRQHRUVRPHWKLQJKDVVRPHWKLQJWKDWFDQEH
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           DKLJKOHYHORIYDOXHRUH[FHOOHQFH

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           6HHWKHIXOOGHILQLWLRQIRUqualityLQWKH(QJOLVK/DQJXDJH/HDUQHUV'LFWLRQDU\




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           plural TXDOLWLHV

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4XDOLW\_'HILQLWLRQRI4XDOLW\E\0HUULDP:HEVWHU                                         (58 of 61)
            Case 2:15-cv-06257-PA-AGR Document 112 Filed 10/31/18 Page 58 of 61 Page ID #:3974
               ²(%:KLWHCharlotte's Web

                 KRZJRRGRUEDGVRPHWKLQJLV
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                 DKLJKVWDQGDUG (;&(//(1&(
                  +LVVNLOOVKRZVLQWKHqualityRIKLVZRUN




           TXDOLW\                DGMHFWLYH
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           VHQVDWLRQ

             WKHFKDUDFWHURIDQ;UD\EHDPWKDWGHWHUPLQHVLWVSHQHWUDWLQJSRZHUDQGLV
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           GHSHQGHQWXSRQLWVZDYHOHQJWKGLVWULEXWLRQ




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4XDOLW\_'HILQLWLRQRI4XDOLW\E\0HUULDP:HEVWHU                                         (59 of 61)
            Case 2:15-cv-06257-PA-AGR Document 112 Filed 10/31/18 Page 59 of 61 Page ID #:3975
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           TXDOLW\                QRXQ
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           plural TXDOLWLHV                                                                                                            8
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Vquality




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4XDOLW\_'HILQLWLRQRI4XDOLW\E\0HUULDP:HEVWHU                                         (60 of 61)
            Case 2:15-cv-06257-PA-AGR Document 112 Filed 10/31/18 Page 60 of 61 Page ID #:3976




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           6HHZRUGVWKDWUK\PHZLWKquality
           7KHVDXUXV $OOV\QRQ\PVDQGDQWRQ\PVIRUquality
           6SDQLVK&HQWUDO7UDQVODWLRQRIquality
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4XDOLW\_'HILQLWLRQRI4XDOLW\E\0HUULDP:HEVWHU                                         (61 of 61)
            Case 2:15-cv-06257-PA-AGR Document 112 Filed 10/31/18 Page 61 of 61 Page ID #:3977
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